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11
12                            UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                     SOUTHERN DIVISION
15   In the Matter of the Seizure of                 No. 8:19-mj-00173
16   ALL FUNDS IN BANK OF                            EX PARTE APPLICATION FOR ORDER
     AMERICA ACCOUNT NUMBER                          LIFTING SEAL OF SEIZURE
17   3250 3526 3568                                  AFFIDAVIT AND WARRANT
18
19         The United States of America hereby applies ex parte for an order lifting the seal
20   on the Application and Affidavit for Seizure Warrant (“Application”) (Dkt. 1) and
21   Seizure Warrant (Dkt. 2). This application is made for the following reasons:
22         1. On March 12, 2019, the United States filed the Seizure Warrant and Affidavit.
23            The Warrant has been served on the financial institution to which it is
24            addressed. As a result, there is no further need for sealing of the documents.
25         2. The U.S. Securities and Exchange Commission (“SEC”) intends to commence
26            an action related to the matters described in the Application. The SEC wishes
27            to make reference to the Application and Seizure Warrant in the pleadings that
28            it files. The SEC is concerned that it would be improper to mention the
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 1          Application and Seizure Warrant because they are shown on the Court‘s
 2          PACER system as being under seal.
 3       3. Lifting the seal with respect to the Application and Seizure Warrant will permit
 4          the SEC to make reference to those documents in the pleadings that it files.
 5       WHEREFORE, the United States of America respectfully requests that the Court
 6       enter an order lifting the seal with respect to the Application and Seizure Warrant
 7       in this case.
 8   Dated: March 13, 2019                  Respectfully submitted,
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15                                             /s/
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